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                       IN TI{E I]NITED STATES DISTRICT COURT
                    FOR TI{E WESTERN DISTRICT OF PENNSYLVANIA

MICHAELPUHL,                                        )
                                                    )
               Plaintiff,                           )          Civil Action No. 2:21-cv-01401-NR
                                                    )
                                                    )          Judge J. Nicholas Ranjan
                                                    )
HACKNEY KIDRON, vT HACKNEY,                         )          Filed Electonical$t
INC., HACKEYAND KIDRON, and                         )
ST ENGINEERING HACKNEY, INC.                        )
                                                    )
               Defendants.                          )

                    STIPULATION OF DISMISSAL WITH PREJT'DICE

       The parties stipulate to dismissal of this   civil action under Federal Rule of Civil

Procedure 41 (a)(1)(AXii) with prejudice.



                                      Respectfully submitted

FoR PLAI{TFF MICHAEL PUHL:                              FoR DEFENDANT ST ENGD{EERING HACKNEY,
                                                        INC.

By:L Lawrence D. Kerr                                   By: Philip K. Kontul
Lawrence D. Ken @A 58635)                               Philip K. Kontul (PA 94156)
lkerr@westpalawyers.com                                 philip.kontul@oglehee.com

Tremba, Kinney, Greiner & Kerr, LLC                     Ogletree, Deakins, Nash, Smoak       &   Stewart,
302 West Ofierman Street                                P.C.
Greensburg, PA 15601                                    One PPG Place
Telephone: (7 24) 838-'1 600                            Suite 1900
                                                        Pittsburgh, PA 15222
                                                        Telephone: (412) 394-33 52




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Dated: February _,2022

                                             Exhibit A




                                                                                     50282200.v1-OGLETREE
